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                    EXHIBIT A
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  From:           John McDowell
  Sent:           Sunday, February 14, 2010 12:47 PM
  To:             Thomas H. Reger II
  Cc:             msupko@crowell.com; John McDowell
  Subject:        RE: [RIM/Kodak] Claim Construction Chart
  Attachments: SF-#204071-v1-Draft_Claim_Construction_Chart_Revised.DOC

Tom,

Attached is what should be a final Claim Construction Chart. This reflects changes to the order of the patents as set forth below
and some other changes, the majority of which are on the '161 (including the particular omission set forth below).

If you'd like to include the agreed terms, that's fine with us. Your rendition of the Local Rules is correct. I was just not a fan of
including the agreed terms in the first instance. However, let's do it.

Per my voice mail to you, we will agree to your amending your invalidity contentions, but want a reciprocal agreement as to Kodak's
amending its infringement contentions. Just as Kodak agrees sight unseen to allow RIM to amend its invalidity contentions, so RIM
agrees sight unseen to allow Kodak to amend its invalidity contentions.

John




From: Thomas H. Reger II [mailto:Reger@fr.com]
Sent: Saturday, February 13, 2010 4:28 PM
To: McDowell, John
Cc: msupko@crowell.com; McDowell, John
Subject: RE: [RIM/Kodak] Claim Construction Chart

John,

I think your idea on re-ordering the presentation is a good one. Please incorporate that into your set of revisions, as well as include
the proposed constructions for the means-for term of Element 1(B) and the “means for” phrases being construed. With respect to
the Judge’s column, the local rules state that if the parties include agreed terms in the chart, then the Judge’s column “must” include
the agreed construction (see P.R. 4-5(c)(2)) – it is RIM’s preference that these stay in the chart.

On a side note, I did not hear from you on the invalidity contentions after our discussion on Thursday. Please let me know as soon
as possible.

Thank you.
Tom Reger


From: McDowell, John [mailto:John.McDowell@klgates.com]
Sent: Saturday, February 13, 2010 3:47 PM
To: Thomas H. Reger II
Cc: msupko@crowell.com; John McDowell
Subject: RE: [RIM/Kodak] Claim Construction Chart

Tom,


                                                                                                                 Pl. App. No. 1
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I've called you to discuss these points, but have not had luck getting you at the office. With this weather and power outages, I
imagine you are hunkered down someplace.

Per my message, we have some changes to the Chart, but are still going through the painstaking process.       We had some big
picture issues with the chart as is and wanted to get your thoughts. That is,

(1) We do not believe we should populate the "Judge's Construction" column, even with the agreed constructions of the parties.
Ultimately, that is a decision for the judge.

(2) We think the order the patents are presented should be rearranged to reflect the general order in which the parties briefed the
claim construction issues. For that reason, the claim terms should be presented in the following patent order: '218, '335, '510 and
'161.

(3) For all of the means plus function claims, the "means for" phrase should be included as part of the term being construed under
the parties' respective proposed construction column. As it is now, this is done inconsistently. For example, compare '161 Claim 1,
Element 1 with Claim 1 Element 1(A)(a).

(4) The parties' proposed constructions are missing for '161 Claim 1, Element 1(B).

Please let me know on these issues.

John




From: Thomas H. Reger II [mailto:Reger@fr.com]
Sent: Wednesday, February 10, 2010 9:45 AM
To: Supko, Mark
Cc: McDowell, John
Subject: [RIM/Kodak] Claim Construction Chart



Mark,

Pursuant to the Scheduling Order, the parties must file a claim construction chart by February 15. While RIM is still reviewing this
for completeness, I wanted to provide a draft for discussion purposes only so that Kodak can conduct a concurrent review. Please
let me know if you have any revisions or would like to discuss before the deadline of Monday, February 15.

Thank you.
Tom Reger

  Thomas H. Reger II
~ Fish & Richardson P.C.
   1717 Main Street, Suite 5000
  Dallas, TX 75201
  Direct: 214.292.4084
  Fax: 214.747.2091
  Cell: 214.403.5171
  reger@fr.com



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                                                                                                               Pl. App. No. 3
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   EXHIBIT A: JOINT CLAIM CONSTRUCTION CHART
                                         United States Patent No. 6,292,218

     Complete Language of                                                        Kodak’s Proposed
                                      RIM’s Proposed Construction                                               Judge’s Construction
       Disputed Claims                                                             Construction

An electronic still camera for        The preamble is a limitation        The preamble is not a limitation.
initiating capture of a still
image while previewing motion
images on a display,
comprising:
(a) an image sensor having a two-     each captured image having a        each captured image having a
dimensional array of photosites       first number of color pixel         first number of color pixel
covered by a mosaic pattern of        values provided in a first color    values provided in a first color
color filters including at least      pattern:                            pattern:
three different colors for
capturing images of a scene, each     “Every image output by the          Kodak does not believe this term
captured image having a first         sensor has the same number of       requires construction apart from
number of color pixel values          pixels arranged in the same color   the constructions of the
provided in a first color             pattern.”                           individual terms (see below).
pattern;                                                                  However, if the Court is inclined
                                                                          to construe the term, Kodak
                                                                          proposes:

                                                                                Each image of a scene
                                                                                captured by the electronic
                                                                                still camera has a number of
                                                                                color pixel values in a color
                                                                                pattern, as generated by the
                                                                                photosites on the image
                                                                                sensor.

                                      captured image:                     captured image:

                                      Defined in conjunction with         “an image of a scene captured by
                                      entire element above.               the electronic still camera

                                      first number of color pixel         first number of color pixel
                                      values:                             values:

                                      Defined in conjunction with         “the number of color pixel values
                                      entire element above.               generated by the photosites on
                                                                          the image sensor”

                                      first color pattern:                first color pattern:

                                      Defined in conjunction with         “The color pattern of the image
                                      entire element above.               as generated by the photosites on
                                                                          the image sensor”
(b) a motion processor for            motion processor:                   motion processor:
generating from the captured
images, a second number of color      “A first processor unit, separate   “A digital processor that
pixel values provided in a second     from the second processor unit,     processes a series of motion
color pattern having at least three   for motion image processing.        images.”
different colors and
representative of a series of         generating:                         generating:
motion images to be previewed,
the second number of color pixel      No construction required. The       “creating”
values being less than the first      claim should be given its plain
number of color pixel values, and     and ordinary meaning.
the second color pattern being
different from the first color        If the Court determines that the
pattern;                              term should be construed, then
                                      RIM contends:




EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 1 of 17                                                                 Pl. App. No. 4
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     Complete Language of                                                         Kodak’s Proposed
                                      RIM’s Proposed Construction                                               Judge’s Construction
       Disputed Claims                                                              Construction

                                                 “producing”




(c) a color display for presenting    presenting at least some of the      presenting at least some of the
at least some of the motion           motion images of the series of       motion images of the series of
images of the series of motion        motion images corresponding          motion images corresponding
images corresponding to the           to the captured images of the        to the captured images of the
captured images of the scene,         scene:                               scene:
the color display having an
arrangement of color display          “Displaying the motion images to     Kodak does not believe this term
pixels including at least three       the camera’s user at a rate          requires construction, and should
different colors in a pattern         sufficient to provide good motion    instead be accorded its plain and
different from the first color        rendition and eliminate display      ordinary meaning. However, if
pattern;                              flicker.”                            the Court is inclined to construe
                                                                           the term, Kodak proposes:

                                                                                Displaying in color at least
                                                                                some of the motion images
                                                                                corresponding to the
                                                                                captured images of the
                                                                                scene.

(d) a capture button for initiating   capture of a still image while       capture of a still image while
capture of a still image while        previewing the motion images:        previewing the motion images:
previewing the motion images
presented on the color display;       “capture of a still image without    Kodak does not believe this term
                                      interrupting the display of motion   requires construction, and should
                                      images”                              instead be accorded its plain and
                                                 This term also appears   ordinary meaning.
                                                  in the preamble.
(e) a still processor for             still processor:                     still processor:
generating a third number of
color pixel values including at       “A second processor unit,            “A digital processor that
least three different colors          separate from the first processor    processes a captured still image.”
representative of a captured still    unit, for still image processing
image; and                            that operates on the motion
                                      images.

                                      The still processor performs
                                      image processing at the same
                                      time as the motion processor.”

(f) a digital memory for storing
the processed captured still
image.




EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 2 of 17                                                                 Pl. App. No. 5
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                                        United States Patent No. 5,493,335

    Complete Language of                                                            Kodak’s Proposed
                                     RIM’s Proposed Construction                                                      Judge’s Construction
      Disputed Claims                                                                 Construction

1. An electronic camera adapted
for processing images of different
resolution, said camera
comprising:
an image sensor for generating a     baseband image signal:                baseband image signal
baseband image signal                                                      representative of color image
representative of color image        A color image signal generated        pixels:
pixels arranged in vertical and      by the image sensor that directly
horizontal directions as obtained    corresponds to the sensor’s array     Image data values that have not
from a two-dimensional array of      of photosites (e.g., the signal has   undergone image compression,
photosites covered by a pattern of   not been processed)1                  each of which represents a color
luminance and chrominance color                                            image pixel
filters;
a buffer memory having               buffer memory having                  buffer memory having
sufficient capacity for storing      sufficient capacity for storing       sufficient capacity for storing
the color image pixels as            the color image pixels as             the color image pixels as
baseband signals                     baseband signals                      baseband signals
corresponding to at least one        corresponding to at least one         corresponding to at least one
image;                               image:                                image:

                                     “A temporary storage device for       “Memory for temporary storage
                                     storing baseband image signals        having sufficient capacity to store
                                     and that is large enough to store a   baseband signals corresponding
                                     full image (or frame).”               to at least one color image”

                                               This term also appears                This term also appears
                                                in claim 12.                           in claim 12.

an output memory, connected          Output memory (agreed):               Output memory (agreed):               Output memory:
subsequent to the buffer memory,                                                                                 “a persistent memory distinct
for storing processed image          “a persistent memory distinct         “a persistent memory distinct         from the buffer memory”
signals obtained from the            from the buffer memory”               from the buffer memory”
buffer memory;
                                     processed image signals               processed image signals
                                     obtained from the buffer              obtained from the buffer
                                     memory:                               memory:

                                     Image signals taken from the          Image signals taken from the
                                     buffer memory that have been          buffer memory that are subjected
                                     subjected to image formatting         to image compression.
                                     (e.g., color conversion,
                                     subsampling, compression, etc.).

a resolution mode switch for         selecting a pixel resolution of       selecting a pixel resolution of
selecting a pixel resolution of      the image by specifying an            the image by specifying an
the image by specifying an           order in which the color image        order in which the color image
order in which the color image       pixels are selected for storage       pixels are selected for storage
pixels are selected for storage      in both vertical and horizontal       in both vertical and horizontal
in both vertical and horizontal      directions:                           directions:
directions, said order including a
full resolution mode in which
                                     Choosing a resolution mode that       Setting the resolution of the
all color image pixels are
                                     determines a two-dimensional          image by determining the number
selected and at least one reduced
                                     selection pattern of the pixels       of color image pixels in the
resolution mode in which less
                                     output from the image sensor for      vertical and horizontal directions
than all color image pixels are
                                     storage
selected;




1
         In the alternative, RIM proposes that the more precise limitation be construed, namely “a baseband image
signal representative of color image pixels … as obtained from a two-dimensional array of photosites.”


EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 3 of 17                                                                         Pl. App. No. 6
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    Complete Language of                                                       Kodak’s Proposed
                                   RIM’s Proposed Construction                                               Judge’s Construction
      Disputed Claims                                                            Construction

                                   full resolution mode in which        full resolution mode in which
                                   all color image pixels are           all color image pixels are
                                   selected:                            selected:

                                   An operating mode that selects       A mode with the largest number
                                   every pixel output from the          of color image pixels selectable
                                   sensor for storage.                  by the user



                                   reduced resolution mode in           reduced resolution mode in
                                   which less than all color image      which less than all color image
                                   pixels are selected:                 pixels are selected:

                                   An operating mode that selects       Kodak does not believe this term
                                   less than every pixel output from    requires construction, and should
                                   the sensor for storage.              instead be accorded its plain and
                                                                        ordinary meaning. However, if
                                                                        the Court is inclined to construe
                                                                        the term, Kodak proposes:

                                                                             A mode with fewer than the
                                                                             largest number of color
                                                                             image pixels selectable by
                                                                             the user.

a controller responsive to the     a controller responsive to the       a controller responsive to the
pixel resolution selected by the   pixel resolution selected by the     pixel resolution selected by the
resolution mode switch for         resolution mode switch for           resolution mode switch for
accordingly changing the           accordingly changing the             accordingly changing the
number of horizontal and           number of horizontal and             number of horizontal and
vertical pixels that represent     vertical pixels that represent       vertical pixels that represent
the image, said controller         the image:                           the image:
effecting a subsampling of the
color image pixels for the         Control logic responsive to the      Kodak does not believe this term
reduced resolution mode; and       resolution mode that causes a        requires construction, and should
                                   change in the number of selected     instead be accorded its plain and
                                   color image pixels in the            ordinary meaning. However, if
                                   horizontal and vertical directions   the Court is inclined to construe
                                   that represent the image.            the term, Kodak proposes:

                                                                             Control logic responsive to
                                                                             the selected pixel resolution
                                                                             that causes a change in the
                                                                             number of color image
                                                                             pixels in the horizontal and
                                                                             vertical directions that
                                                                             represent the image in
                                                                             response to the selected
                                                                             pixel resolution. The
                                                                             control logic reduces the
                                                                             number of color image
                                                                             pixels by pixel selection,
                                                                             averaging of pixel values,
                                                                             or a combination thereof.




EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 4 of 17                                                              Pl. App. No. 7
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    Complete Language of                                                         Kodak’s Proposed
                                     RIM’s Proposed Construction                                                    Judge’s Construction
      Disputed Claims                                                              Construction

                                     subsampling of the color image       subsampling of the color image
                                     pixels for the reduced               pixels:
                                     resolution mode:
                                                                          Reducing the number of color
                                     Reducing the image by choosing       image pixels by pixel selection,
                                     selected pixels from all of the      averaging of pixel values, or a
                                     image pixels generated by the        combination thereof.
                                     image sensor.

means for storing the selected       means for storing the selected       means for storing the selected       Function: “storing the selected
color image pixels in said           color image pixels in said           color image pixels in said           color image pixels in said output
output memory, whereby said          output memory, whereby said          output memory, whereby said          memory”
output memory is able to store       output memory is able to store       output memory is able to store
more images in said reduced          more images in said reduced          more images in said reduced          Corresponding Structure:
resolution mode than in said         resolution mode than in said         resolution mode than in said
full resolution mode.                full resolution mode:                full resolution mode:

                                     The parties agree that the first     The parties agree that the first
                                     clause of this term is governed by   clause of this term is governed by
                                     35 U.S.C. § 112(6), but disagree     35 U.S.C. § 112(6), but disagree
                                     as to the whereby clause.            as to the whereby clause.

                                     Function: “storing the selected      Function: “storing the selected
                                     color image pixels in said output    color image pixels in said output
                                     memory” (AGREED)                     memory” (AGREED)

                                     Corresponding Structure: MPU         Corresponding Structure: A
                                     82, DSP 64, latch and decode 84,     latching and decoding circuit.
                                     address and control lines for
                                     memory 66, and timing generator      The whereby clause is not part of
                                     80.                                  the means-plus-function element,
                                                                          but instead further describes the
                                     RIM believes that the whereby        output memory. As such it is not
                                     clause limits the means-plus-        subject to 35 U.S.C. § 112, ¶ 6.
                                     function element.
                                                                          Kodak does not believe the
                                                                          whereby clause requires
                                                                          construction, and should instead
                                                                          be accorded its plain and ordinary
                                                                          meaning. However, if the Court
                                                                          is inclined to construe the term,
                                                                          Kodak proposes:

                                                                               The output memory can
                                                                               store more images in the
                                                                               reduced resolution mode
                                                                               than in the full resolution
                                                                               mode.


                                                                   CLAIM 12

12. An electronic camera adapted
for processing images of different
resolution, said camera
comprising:
an image sensor for generating a     baseband image signal:               baseband image signal
baseband image signal                                                     representative of color image
representative of color image        A color image signal generated       pixels:
pixels arranged in vertical and      by the image sensor that directly
horizontal directions as obtained    corresponds to the sensor’s array    image data values that have not




EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 5 of 17                                                                       Pl. App. No. 8
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    Complete Language of                                                           Kodak’s Proposed
                                    RIM’s Proposed Construction                                                 Judge’s Construction
      Disputed Claims                                                                Construction

from a two-dimensional array of     of photosites (e.g., the signal has   undergone image compression,
photosites covered by a             not been processed).2                 each of which represents a color
checkerboard pattern of                                                   image pixel
luminance and chrominance color
filters in which each luminance
image pixel is horizontally and
vertically adjoined by a
chrominance image pixel;
a buffer memory having              buffer memory having                  buffer memory having
sufficient capacity for storing     sufficient capacity for storing       sufficient capacity for storing
the color image pixels as           the color image pixels as             the color image pixels as
baseband signals                    baseband signals                      baseband signals
corresponding to at least one       corresponding to at least one         corresponding to at least one
image;                              image:                                image:

                                    A temporary storage device for        Memory for temporary storage
                                    storing baseband image signals        having sufficient capacity to store
                                    and that is large enough to store a   baseband signals corresponding
                                    full image (or frame).                to at least one color image.

                                               This term also appears               This term also appears
                                                in claim 1.                           in claim 1.
a signal processor for generating
a processed image signal by
compressing the baseband image
signal stored in said buffer
memory; and
a resolution mode switch for        full resolution mode in which         full resolution mode in which
selecting a pixel resolution mode   all color image pixels are            all color image pixels are
of the image selected for           processed for compression:            processed for compression:
compression, said resolution
modes including a full resolution   An operating mode that                Kodak does not believe this term
mode in which all color image       compresses every pixel output         requires construction, and should
pixels are processed for            from the sensor.                      instead be accorded its plain and
compression and at least one                                              ordinary meaning. However, if
reduced resolution mode in which                                          the Court is inclined to construe
less than all color image pixels                                          the term, Kodak proposes:
are produced by averaging at
least some of the color image                                                  A mode in which the largest
pixels before compression.                                                     number of color image
                                                                               pixels selectable by the user
                                                                               are compressed.

                                    averaging at least some of the        averaging at least some of the
                                    color image pixels before             color image pixels before
                                    compression:                          compression:

                                    Creating new pixels by                Creating a color pixel value
                                    calculating a mean of a larger        based on two or more color pixel
                                    number of pixels output from the      values.
                                    sensor.




2
         In the alternative, RIM proposes that the more precise limitation be construed, namely “a baseband image
signal representative of color image pixels … as obtained from a two-dimensional array of photosites.”


EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 6 of 17                                                                 Pl. App. No. 9
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EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 7 of 17             Pl. App. No. 10
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                                         United States Patent No. 6,600,510

     Complete Language of                                                         Kodak’s Proposed
                                      RIM’s Proposed Construction                                                    Judge’s Construction
       Disputed Claims                                                              Construction

A method for transmitting a           “Step ‘a’ is performed before step   “Step ‘a’ is performed before step   Order of the Method Steps:
digital image from a handheld         ‘b’, which is performed before       ‘b’, which is performed before
digital camera to a plurality of      step ‘c’. Also, step ‘d’ is          step ‘c’. Also, step ‘d’ is          “Step ‘a’ is performed before step
selected receiver units over a        performed before step ‘e’, which     performed before step ‘e’, which     ‘b’, which is performed before
radio frequency link,                 is performed before step ‘f’.        is performed before step ‘f’.        step ‘c’. Also, step ‘d’ is
comprising the steps of:              (AGREED)                             (AGREED)                             performed before step ‘e’, which
                                                                                                                is performed before step ‘f’.

                                      The preamble is a limitation         Only the “handheld digital
                                                                           camera” element in the preamble
                                                                           is a limitation.

                                      transmitting a digital image         transmitting a digital image
                                      from a handheld digital camera       from a handheld digital camera
                                      to a plurality of selected           to a plurality of selected
                                      receiver units over a radio          receiver units over a radio
                                      frequency link:                      frequency link:

                                      “Providing an image signal from      Kodak does not believe this term
                                      the handheld device to at least      requires construction, and should
                                      two devices chosen to receive        instead be accorded its plain and
                                      digital images over a single         ordinary meaning. However, if
                                      wireless communication               the Court is inclined to construe
                                      connection”                          the term, Kodak proposes:

                                                                              Sending digital image data
                                                                              from a handheld digital
                                                                              camera to a plurality of
                                                                              selected receiver units over a
                                                                              radio frequency link.

(a) providing said handheld           a transceiver for transmitting       a transceiver for transmitting       a transceiver for transmitting
digital camera including: (i) an      the stored digital image data        the stored digital image data        the stored digital image data
image sensor for capturing at         via radio frequency                  via radio frequency                  via radio frequency
least one image; (ii) an A/D          transmission:                        transmission:                        transmission:
converter for producing digital
image data from each captured         “A component or subsystem that       “A component or subsystem that       “A component or subsystem that
image; (iii) a memory for storing     can both send and receive data,      can both send and receive data,      can both send and receive data,
the digital image data for at least   which sends the stored digital       which sends the stored digital       which sends the stored digital
one captured image; and (iv) a        image data via radio frequency       image data via radio frequency       image data via radio frequency
transceiver for transmitting the      transmission” (AGREED)               transmission” (AGREED)               transmission”
stored digital image data via
radio frequency transmission;
(b) capturing an image using the
image sensor;
(c) storing digital image data
corresponding to the captured
image in the memory;
(d) selecting a plurality of          receiver unit:                       receiver unit:                       receiver unit:
receiver units that are to receive
the stored digital image data;        “A device that receives digital      “A device that receives digital      “A device that receives digital
                                      image data” (AGREED)                 image data” (AGREED)                 image data”

                                      selecting a plurality of receiver    selecting a plurality of receiver    selecting a plurality of receiver
                                      units that are to receive the        units that are to receive the        units that are to receive the
                                      stored digital image data:           stored digital image data:           stored digital image data:

                                      “Specifying an identifier or         “Specifying an identifier or         “Specifying an identifier or
                                      address for each of a plurality of   address for each of a plurality of   address for each of a plurality of
                                      devices to receive the stored        devices to receive the stored        devices to receive the stored
                                      digital image data” (AGREED)         digital image data” (AGREED)         digital image data”

(e) using the transceiver to



EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 8 of 17                                                                       Pl. App. No. 11
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    Complete Language of                                                        Kodak’s Proposed
                                    RIM’s Proposed Construction                                              Judge’s Construction
      Disputed Claims                                                             Construction

transmit the stored digital image
data and a header identifying
each of the selected receiver
units; and
(f) receiving the transmitted       receiving the transmitted            receiving the transmitted
digital image data and the          digital image data and the           digital image data and the
header, and providing the           header, and providing the            header, and providing the
transmitted digital image data      transmitted digital image data       transmitted digital image data
to each of the selected receiver    to each of the selected receiver     to each of the selected receiver
units, whe[r]ein the digital        units:                               units:
image data is transmitted once
from the handheld digital           “Receiving the wireless image        Kodak does not believe this term
camera, and is simultaneously       signal and the identifiers for the   requires construction, and should
provided to at least two            chosen receiver devices from the     instead be accorded its plain and
different receiver units.           handheld device and then             ordinary meaning. However, if
                                    supplying the image data             the Court is inclined to construe
                                    wirelessly to two or more chosen     the term, Kodak proposes:
                                    receiver devices”
                                                                              Receiving the transmitted
                                                                              digital image data and the
                                                                              header, and providing the
                                                                              transmitted digital image
                                                                              data to the specified
                                                                              receiver units.

                                    whe[r]ein the digital image data     whe[r]ein the digital image data
                                    is transmitted once from the         is transmitted once from the
                                    handheld digital camera, and is      handheld digital camera, and is
                                    simultaneously provided to at        simultaneously provided to at
                                    least two different receiver         least two different receiver
                                    units:                               units:

                                    “A single wireless image signal is   Kodak does not believe this term
                                    communicated from the handheld       requires construction, and should
                                    device and then supplying the        instead be accorded its plain and
                                    image data wirelessly to two or      ordinary meaning. However, if
                                    more chosen receiver devices at      the Court is inclined to construe
                                    the same time.                       the term, Kodak proposes:

                                    The wherein clause limits at least        The digital image data is
                                    steps “e” and “f.”                        sent from the handheld
                                                                              digital camera once, and is
                                                                              provided to at least two
                                                                              different receiver units at
                                                                              the same time.




EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 9 of 17                                                             Pl. App. No. 12
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                                       United States Patent No. 5,226,161

    Complete Language of                                                       Kodak’s Proposed
                                   RIM’s Proposed Construction                                                     Judge’s Construction
      Disputed Claims                                                            Construction

1. A data processing system        The preamble is a limitation         Only the “processing means”
having processing means for                                             element in the preamble is a
performing operations with                                              limitation
respect to a multiplicity of
different types of data and        data processing system:              data processing system:
wherein the data is contained in
data structures, the system        “an object-based computer that       Kodak does not believe this term
comprising:                        does not utilize a central,          requires construction, and should
                                   operating system type object         instead be accorded its plain and
                                   management system.                   ordinary meaning. However, if
                                                                        the Court is inclined to construe
                                                                        the term, Kodak proposes:

                                                                        A computer system for
                                                                        performing operations on data.
                                   processing means for                 processing means for                  “processing means for
                                   performing operations with           performing operations with            performing operations with
                                   respect to a multiplicity of         respect to a multiplicity of          respect to a multiplicity of
                                   different types of data is           different types of data is            different types of data” is
                                   governed by 35 U.S.C. § 112(6).      governed by 35 U.S.C. § 112(6).       governed by 35 U.S.C. § 112(6).

                                   Function: “performing operations     Function: “performing operations      Function: “performing operations
                                   with respect to a multiplicity of    with respect to a multiplicity of     with respect to a multiplicity of
                                   different data types” (AGREED)       different data types” (AGREED)        different data types”

                                   Corresponding Structure: CPU         Corresponding Structure: One or       Corresponding Structure:
                                   116 executing object managers        more central processing units
                                   124 separately stored in memory      (CPUs) or processors in a
                                   space 110 (comprising main           computer system.
                                   memory 112 and mass storage
                                   memory 114).

(A) a plurality of programs,       program:                             program:
executed by said processing
means, for performing              Independent object managers that         A set of statements that can
operations with respect to the     each manipulate a corresponding          be submitted as a unit to a
different types of data, each      type of data.                            computer system and used to
program including                                                           direct the behavior of the
                                                                            system. Programs are also
                                                                            known as “object
                                                                            managers,” “editors,”
                                                                            “application programs,” or
                                                                            “applications

                                   operations with respect to the       operations with respect to the
                                   different types of data:             different types of data:

                                   “Manipulating the respective data    Kodak does not believe this term
                                   object according to the data         requires construction, and should
                                   object’s type.                       instead be accorded its plain and
                                                                        ordinary meaning. However, if
                                   The first and second types of data   the Court is inclined to construe
                                   must be different.”                  the term, Kodak proposes:

                                                                        Actions that can be performed
                                                                        with respect to the different types
                                                                        of data.




EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 10 of 17                                                                   Pl. App. No. 13
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    Complete Language of                                                            Kodak’s Proposed
                                      RIM’s Proposed Construction                                                      Judge’s Construction
      Disputed Claims                                                                 Construction

(a) a means for performing at        Governed by 35 U.S.C. § 112(6)          Governed by 35 U.S.C. § 112(6)       Governed by 35 U.S.C. § 112(6)
least one operation with respect     (AGREED).                               (AGREED).                            (AGREED).
to at least one corresponding
type of data, the means for          Function: “performing at least          Function: “performing at least       Function: “performing at least
performing at least one              one operation with respect to at        one operation with respect to at     one operation with respect to at
operation being responsive to a      least one corresponding type of         least one corresponding type of      least one corresponding type of
request to perform an                data” (AGREED)                          data” (AGREED)                       data” (AGREED)
operation of the at least one
operation with respect to            Corresponding Structure: RIM            Corresponding Structure: The         Corresponding Structure:
identified data of the               asserts that this claim is indefinite   disclosed structure is
corresponding type for               at least because no structure is        instructions contained in or
performing the requested             disclosed by the ’161 patent that       available to an object manager
operation with respect to the        is clearly linked to the claimed        (for example, a word processor,
identified data,                     function and is part of the             spreadsheet program or other
                                     claimed “each program” such that        application) that directly or
                                     it is responsive to “a request to       indirectly performs the
                                     perform an operation of the at          requested operation on the
                                     least one operation with respect        identified data.3
                                     to identified data of the
                                     corresponding type for                       These object manager
                                     performing the requested                     instructions may perform
                                     operation with respect to the                the requested operation by
                                     identified data.”                            calling subroutines within
                                                                                  the object manager,
                                     To the extent that the ’161                  calling subroutines in
                                     patent links structure to the                libraries available to the
                                     claimed function, RIM                        system, requesting
                                     proposes the following:                      another program to
                                                                                  perform the operation,
                                     In response to a request to                  calling an operating
                                     perform an operation of the at               system kernel function, or
                                     least one operation with respect             some combination of the
                                     to identified data of the                    foregoing.
                                     corresponding type for
                                     performing the requested                These object manager
                                     operation with respect to the           instructions implement at least
                                     identified data, the algorithm          the following general algorithm
                                     implemented by the object               in response to the request: (1)
                                     manager 124 and its Applications        perform initialization processing,
                                     Pack (APPACK) 218.                      such as identifying the operation
                                                                             to be performed and/or the typed
                                                                             data to be operated upon (for
                                                                             example, by calling APinit); (2)
                                                                             access the typed data; and (3)
                                                                             cause the operation to be
                                                                             completed in response to the
                                                                             request (for example, a request
                                                                             issued via an APPACK routine).




                                     operation with respect to at            operation with respect to at
                                     least one corresponding type of         least one corresponding type of
                                     data:                                   data:4

                                     “Manipulating the respective data       Kodak does not believe this term
                                     object according to the data            requires construction, and should
                                     object’s type.                          instead be accorded its plain and

3
     Kodak believes the text in bold is the only identification of disclosed structure that needs to be included in the Court’s construction of this
     term, consistent with the requirements of 35 U.S.C. § 112, ¶ 6. In view of RIM’s definiteness challenge, Kodak submits that the additional
     text may be included in the Court’s discretion.
4
     RIM has proposed a single construction for a variety of different claim terms. In essence, Kodak contends that an “operation” is an
     “action,” and the construction for any particular term should accurately reflect what the claim element recites as being acted upon.



EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 11 of 17                                                                        Pl. App. No. 14
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    Complete Language of                                                          Kodak’s Proposed
                                    RIM’s Proposed Construction                                                        Judge’s Construction
      Disputed Claims                                                               Construction

                                                                           ordinary meaning. However, if
                                    The first and second types of data     the Court is inclined to construe
                                    must be different.”                    the term, Kodak proposes:

                                                                           Actions that can be performed
                                                                           with respect to the different types
                                                                           of data.
                                    being responsive to a                  being responsive to a
                                    request . . . performing the           request . . . performing the
                                    requested operation with               requested operation with
                                    respect to the identified data:        respect to the identified data:

                                    “The object manager performs           Kodak does not believe this
                                    the requested operation on data        term requires construction, and
                                    identified according to Claim          should instead be accorded its
                                    1(A)(b), where the performed           plain and ordinary meaning.
                                    operation is based on the received     However, if the Court is
                                    request according to Claim             inclined to construe the term,
                                    1(A)(c).”                              Kodak proposes:

                                                                                The program performs the
                                                                                operation in response to a
                                                                                request.

the means for performing at least   a request to perform an                a request to perform an
one operation being responsive to   operation of the at least one          operation of the at least one
a request to perform an             operation with respect to              operation with respect to
operation of the at least one       identified data of the                 identified data of the
operation with respect to           corresponding type:                    corresponding type:
identified data of the
corresponding type for              “An incoming request from              Kodak does not believe this term
performing the requested            another object manager,                requires construction, and should
operation with respect to the       according to Claim 1(A)(c), the        instead be accorded its plain and
identified data,                    request including an                   ordinary meaning. However, if
                                    identification of data of the          the Court is inclined to construe
                                    corresponding type of data for the     the term, Kodak proposes:
                                    object manager and at least one
                                    operation to be performed by the            A request to perform an
                                    object manager with respect to              operation with respect to
                                    the identified data.”                       identified data of a type that
                                                                                the program is capable of
                                                                                operating on.

(b) means for identifying a         Governed by 35 U.S.C. § 112(6)         Governed by 35 U.S.C. § 112(6)         Governed by 35 U.S.C. § 112(6).
reference to a second type of       (AGREED).                              (AGREED).
data in a data structure                                                                                          Function: “identifying a reference
containing a first type of data,    Function: “identifying a reference     Function: “identifying a reference     to a second type of data in a data
                                    to a second type of data in a data     to a second type of data in a data     structure containing a first type of
                                    structure containing a first type of   structure containing a first type of   data”
                                    data” (AGREED)                         data” (AGREED)
                                                                                                                  Corresponding Structure:
                                    Corresponding Structure: The           Corresponding Structure:
                                    algorithm implemented by the           Instructions contained in or
                                    object manager’s APPACK 218.           available to a program that, in the
                                                                           course of reading data in a data
                                                                           structure of a first type, can
                                                                           recognize a reference to data of a
                                                                           second type. The reference may
                                                                           be a link or a link marker (for
                                                                           example, an escape sequence)
                                                                           included in the data.




EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 12 of 17                                                                         Pl. App. No. 15
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     Complete Language of                                                         Kodak’s Proposed
                                     RIM’s Proposed Construction                                                     Judge’s Construction
       Disputed Claims                                                              Construction


                                     data structure:                       data structure:

                                     “An object has with an internal       “An object containing data with
                                     structure defined by and able to      an internal structure defined by
                                     be manipulated by its                 and able to be manipulated by its
                                     corresponding object                  corresponding program(s), and
                                     manager(s).”5                         designated by a type identifier
                                                                           that does not point, directly or
                                                                           indirectly, to code used to
                                                                           perform operations on the
                                                                           object.”

                                     reference to a second type of         reference to a second type of
                                     data in a data structure              data in a data structure
                                     containing a first type of data:      containing a first type of data:

                                     “A link marker that is stored in a    Kodak does not believe this term
                                     typed data object to indicate the     requires construction, and should
                                     presence of another type of typed     instead be accorded its plain and
                                     data object, where the link           ordinary meaning. However, if
                                     marker must include a unique          the Court is inclined to construe
                                     link identifier that enables          the term, Kodak proposes:
                                     retrieval of a record from the link
                                     table 262.”                                 A reference to a second
                                                                                 type of data in a data
                                                                                 structure containing a first
                                                                                 type of data. The
                                                                                 reference may be a link or
                                                                                 a link marker (for
                                                                                 example, an escape
                                                                                 sequence) included in the
                                                                                 data.

(c) means responsive to the          Governed by 35 U.S.C. § 112(6)        Governed by 35 U.S.C. § 112(6)       Governed by 35 U.S.C. § 112(6).
identification of a reference to a   (AGREED).                             (AGREED).
second type of data for                                                                                         Function: “generating a request
generating a request for an          Function: “generating a request       Function: “generating a request      for an operation with respect to
operation with respect to the        for an operation with respect to      for an operation with respect to     the second type of data”
second type of data, each            the second type of data”              the second type of data”
request including an                 (AGREED)                              (AGREED)                             Corresponding Structure:
identification of the second type
of data and at least one operation   Corresponding Structure: RIM          Corresponding Structure:
to perform with respect to the       asserts that this claim is            Instructions in or available to a
second type of data,                 indefinite because no structure       program that generate a request
                                     is disclosed by the ’161 patent       in response to the identification
                                     that is clearly linked to the         of a reference to a second type of
                                     claimed function and is part of       data, the request being issued
                                     the claimed “each program.”           either directly (for example, by
                                                                           making an operating system
                                     To the extent that the ’161           kernel call) or indirectly (for
                                     patent links structure to the         example, by calling an invocation
                                     claimed      function,   RIM          service routine, such as APinvoke
                                     proposes the following:               or another APPACK-type
                                                                           routine). Each request includes
                                     After accessing the link table        an identification of the second
                                     262 using the identified link         type of data and an operation to
                                     marker for the second typed           perform with respect to the
                                     data object, the algorithm            second type of data.
                                     implemented by the object
                                     manager’s APPACK 218, so
                                     that every request includes an

5
     If the Court determines that the object must be designated by a “type identifier,” then RIM agrees with Kodak that the type identifier is not
     used to point, directly or indirectly, to code used to perform operations on the object.




EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 13 of 17                                                                      Pl. App. No. 16
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    Complete Language of                                                         Kodak’s Proposed
                                     RIM’s Proposed Construction                                                Judge’s Construction
      Disputed Claims                                                              Construction

                                     identification of the second
                                     type of data and at least one
                                     operation to perform with
                                     respect to the second type of
                                     data.




                                     operation with respect to the        operation with respect to the
                                     second type of data:                 second type of data:

                                     “Manipulating the respective data    Kodak does not believe this term
                                     object according to the data         requires construction, and should
                                     object’s type.                       instead be accorded its plain and
                                                                          ordinary meaning. However, if
                                     The first and second types of data   the Court is inclined to construe
                                     must be different.”                  the term, Kodak proposes:

                                                                          Actions that can be performed
                                                                          with respect to the different types
                                                                          of data.




each request including an            an identification of the second      an identification of the second
identification of the second type    type of data:                        type of data:
of data and at least one operation




EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 14 of 17                                                               Pl. App. No. 17
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     Complete Language of                                                        Kodak’s Proposed
                                     RIM’s Proposed Construction                                                    Judge’s Construction
       Disputed Claims                                                             Construction

to perform with respect to the       “The unique object type identifier   Kodak does not believe this term
second type of data,                 for a typed data object of another   requires construction, and should
                                     data type.”                          instead be accorded its plain and
                                                                          ordinary meaning. However, if
                                                                          the Court is inclined to construe
                                                                          the term, Kodak proposes:

                                                                          A label or other data that
                                                                          identifies the second type of data
                                                                          either directly or through
                                                                          reference to a database, and does
                                                                          not point to code used to perform
                                                                          operations on the data.

(B) means for receiving from a       Governed by 35 U.S.C. § 112(6)       Governed by 35 U.S.C. § 112(6)       Governed by 35 U.S.C. § 112(6).
requesting program an                (AGREED).                            (AGREED).
identification of a second type of                                                                             Function: “receiving from a
data,                                Function: “receiving from a          Function: “receiving from a          requesting program an
                                     requesting program an                requesting program an                identification of a second type of
                                     identification of a second type of   identification of a second type of   data”
                                     data” (AGREED)                       data” (AGREED)
                                                                                                               Corresponding Structure
                                     Corresponding Structure: The         Corresponding Structure: A set of
                                     algorithm implemented by the         invocation service routines (for
                                     Application Manager 194 via          example, APinvoke(), APrqedit,
                                     APPACK 218 to process each           or other APPACK-type routines)
                                     request generated according to       that receive requests via
                                     Claim 1(A)(c).                       arguments passed to them when
                                                                          called. The invocation service
                                                                          routines may act as
                                                                          intermediaries for an application
                                                                          manager which ultimately
                                                                          receives the request.


                                     requesting program:                  requesting program:

                                     “The object manager that             Kodak does not believe this term
                                     generates the particular request     requires construction, and should
                                     according to Claim 1(A)(c). The      instead be accorded its plain and
                                     ‘means for receiving…’ is            ordinary meaning. However, if
                                     distinct from the ‘requesting        the Court is inclined to construe
                                     program.’”                           the term, Kodak proposes:

                                                                              A program that issues a
                                                                              request.

(C) means for using the received     Governed by 35 U.S.C. § 112(6)       Governed by 35 U.S.C. § 112(6)       Governed by 35 U.S.C. § 112(6).
identification of the second type    (AGREED).                            (AGREED).
of data to identify a program that                                                                             Function: “using the received
includes a means for performing      Function: “using the received        Function: “using the received        identification of the second type
the least one operation upon the     identification of the second type    identification of the second type    of data to identify a program that
identified second type of data,      of data to identify a program that   of data to identify a program that   includes a means for performing
and                                  includes a means for performing      includes a means for performing      the least one operation upon the
                                     the least one operation upon the     the least one operation upon the     identified second type of data”
                                     identified second type of data”      identified second type of data”
                                     (AGREED)                             (AGREED)                             Corresponding Structure:

                                     Corresponding Structure: The         Corresponding Structure: A set of
                                     object type table 254, object        invocation service routines (for
                                     manager table 256, and object        example, APinvoke(), APrqedit(),
                                     prototype table 258 (collectively    or other APPACK-type routines)
                                     the system database 250, as          and/or an application manager




EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 15 of 17                                                                     Pl. App. No. 18
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    Complete Language of                                                          Kodak’s Proposed
                                     RIM’s Proposed Construction                                                      Judge’s Construction
      Disputed Claims                                                               Construction

                                     managed by relational database        that use the identification of the
                                     system 188)6 searched by the          second type of data to search a
                                     Application Manager 194 using         database (for example, an object
                                     only the object ID (identified        manager table) for information
                                     from the link table 262).             that identifies a program capable
                                                                           of performing the requested
                                     The database is persistent.           operation on the identified second
                                                                           type of data
(D) means for invoking the           Governed by 35 U.S.C. § 112(6         Governed by 35 U.S.C. § 112(6)        Governed by 35 U.S.C. § 112(6).
identified program and               (AGREED)).                            (AGREED).
communicating to the identified                                                                                  Function: “invoking the
program the identification of the    Function: “invoking the               Function: “invoking the               identified program and
second type of data,                 identified program and                identified program and                communicating to the identified
                                     communicating to the identified       communicating to the identified       program the identification of the
                                     program the identification of the     program the identification of the     second type of data”
                                     second type of data” (AGREED)         second type of data” (AGREED)
                                                                                                                 Corresponding Structure:
                                     Corresponding Structure: The          Corresponding Structure:
                                     algorithm implemented by              Software that provides at least
                                     APPACK 218 and Application            one of the following mechanisms:
                                     Manager 194.7                         (a) a set of application invocation
                                                                           routines (for example,
                                                                           APinvoke(), APrqedit, APinit or
                                                                           other APPACK-type routines),
                                                                           (b) application invocation
                                                                           routines in combination with an
                                                                           application manager, or (c)
                                                                           operating system kernel routines.
                                                                           These mechanisms invoke the
                                                                           identified program and
                                                                           communicate the identification of
                                                                           the second type of data to it.

                                     identified program:                   identified program:

                                     “The object manager identified        Kodak does not believe this term
                                     using the object ID according to      requires construction, and should
                                     Claim 1(C). The ‘means for            instead be accorded its plain and
                                     invoking…’ is distinct from the       ordinary meaning. However, if
                                     ‘identified program.’”                the Court is inclined to construe
                                                                           the term, Kodak proposes:

                                                                                  The program identified to
                                                                                  operate on the second type
                                                                                  of data.
wherein a program can both           This wherein clause limits the        Kodak does not believe this term
request invocation of other          programs identified above. As         requires construction, and should
programs and can itself be           such, RIM’s construction is           instead be accorded its plain and
invoked by other programs.           provided above in conjunction         ordinary meaning. However, if
                                     with the “programs…for                the Court is inclined to construe
                                     performing operations” term:          the term, Kodak proposes:

                                     where every object manager is             Each program can request
                                     mutually capable of i) directly           that other programs be
                                     starting or activating other object       activated, and can itself be
                                     managers and ii) being directly           activated as a result of
                                     started or activated by other             requests by other programs.
                                     object managers.8



6


7
     RIM proposes that the “means for” elements of Claim 1(B), 1(C), and 1(D) are separate from the plurality of programs in Claim 1(A).
8
     Each program (object manager) must include all of the structures identified in Claim 1(A) (a) – (c).




EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 16 of 17                                                                       Pl. App. No. 19
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EXHIBIT A TO JOINT CLAIM CONSTRUCTION CHART – Page 17 of 17            Pl. App. No. 20
